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                 IN TTM I.]NITED STATES DISTRICT COURT
                FOR TFIE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA )
                                      ) No. 14 CR 287-5
       v.                             )
                                      ) Judge Charles R. Norgle
LEONARDO SANDERS                      )


                                 AGREED ORDER


      By agreement of the parties, it is hereby ordered that defendant Leonardo

Sanders' surrender date is extended to Friday,   April 20,2018   at 2:00 p.m.




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